     Case 4:16-cv-02613 Document 25 Filed in TXSD on 02/14/17 Page 1 of 3



                            UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


Manjit Sangha,                                  §    CIVIL ACTION NO. 4:16-cv-02613
                                                §
                                                §
                                                §
                                                §
V.                                              §
                                                §
Navig8 Ship Management PTE LTD., et al.         §
                                                §
                                                §    JURY TRIAL DEMANDED
                                                §


                          Plaintiff Manjit Sangha’s Notice of Appeal

       Plaintiff Manjit Sangha files this Notice of Appeal and would show as follows:

       Pursuant to the Federal Rules of Appellate Procedure and Federal Rules of Civil

Procedure, Plaintiff Manjit Sangha appeals to the United States Court of Appeals for the Fifth

Circuit from the January 20, 2017 Opinion on Jurisdiction (Doc. No. 23), January 20, 2017 Final

Dismissal (Doc. No. 24), and from all other orders or rulings of the Court necessary to,

supporting, or relating to and made final by them.


                                                           Respectfully submitted,



                                                           ____________________________
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      Case 4:16-cv-02613 Document 25 Filed in TXSD on 02/14/17 Page 2 of 3



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                                                                THE NIGAM LAW FIRM, PLLC

                                                                 /s/ Anjali Nigam
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                                                                ATTORNEYS FOR PLAINTIFF
                                                                MANJIT SANGHA


                                CERTIFICATE OF SERVICE

       I, the undersigned attorney, do hereby certify that a true and correct copy of the foregoing
document was forwarded to counsel of record on this the 14th day of February, 2017, via ECF, hand
delivery, overnight courier, U.S. Mail, certified mail, return receipt request, or facsimile, pursuant to
the Federal Rules of Civil Procedure.




                                                ________________________________
                                                MICHAEL PATRICK DOYLE




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      Case 4:16-cv-02613 Document 25 Filed in TXSD on 02/14/17 Page 3 of 3



                               CERTIFICATE OF CONFERENCE

      I, the undersigned attorney, do hereby certify pursuant to LR 7.1(D) that after conferring with
counsel for Defendant Navig8, counsel cannot agree to the disposition of the Motion. Counsel for
Defendant Navig8 is not opposed if the Court wishes to conduct any further conference.




                                              ________________________________
                                              MICHAEL PATRICK DOYLE




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